 

M.G.U.. et al. ,

KIRSTJEN NIELSEN, el al.,

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lN 'I`HE UNITED STATES DlSTRICT C()URT
FOR THE DlSTRICT ()F C()LUMBIA

 

Plaintil`t`, , _
Clvil Action No. l:lS-cv-l458 (PLF)

V.

Defendants.

 

 

DECLARAT[ON OF ASHLEY N. MARTlNEZ

I, Ashley N. Martinez, make the following declaration based on my personal knowledge

and declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true and

CO!`I`€CtI

l.

lam an attorney and have been licensed and admitted in the State of California since
December 2017. l currently work as a Staff Attorney with Texas RioGrande Legal Aid

Inc. and my practice is devoted to immigration matters I have served in this capacity

since February 12, 2018.
E.F. is the Plaintiff in 18-cv-l458. She is currently detained at the El Paso- SPC

detention center located at 8915 Montana Ave., El Paso, Texas 79925. l have met with
E.F. in person on several occasions since June 20, 2018. Together E.F. and l have
reviewed documents written in both English and Spanish. E.F. is not able to read or write
in English. She is also not fully literate in Spanish; she can read simple sentences and

knows how to write some letters and recognize some numbers.

To ensure that E.F. understands information included in a written document, I read the
document out loud to her in Spanish. lf the document is written in English, I translate the
document into Spanish as l read the document out loud to E.F. If the document requires
E.F. to sign her name, I read the document out loud to E.F. in Spanish, E.F. then

communicates to me that she understands what I have read to her, and E.F. signs her

name using an “X” or “E.F.”

 

 

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4_ On June 21, 2018, l visited E.F. in detention to obtain a declaration E.F. provided the
declaration that has been filed in 18-cv-l458 as ECF Document No. 8-2. E.F. provided
this statement to me orally in Spanish. l translated E.F.’s statement and wrote the
statement in English. When I completed the written statement l read it back to E.F. out
loud in Spanish. E.F. stated that she understood the statement and that it was true and
correct. I personally watched E.F. sign her name using an “X” on page 5 of ECF

Document No. 8-2. I then signed the certificate of translation below E.F.’s signature

l declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

and correct to the best of my personal knowledge

Executed in El Paso, Texas on July 11, 2018.

 

ASHLEY N. MAR’TINEZ

